              Case 4:21-cv-00194-LPR Document 69 Filed 07/10/23 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    CENTRAL DIVISION


 Marion Andrew Humphrey, Jr.,

                 Plaintiff,                                   Case No. 4:21-CV-00194 LPR

 v.
                                                               JOINT STATUS REPORT
 Steven Payton, acting in his individual capac-
 ity as an Arkansas State Police trooper,

                 Defendant.



         Plaintiff Marion Andrew Humphrey, Jr., and Defendant Steven Payton, for their joint status,

state:

         1.     On April 24, 2023, the parties executed a settlement agreement on Mr. Humphrey’s

underlying claims. In short, Mr. Humphrey agreed to dismiss his claims against Trooper Payton, the

Arkansas State Police (ASP) agreed to pay Mr. Humphrey $35,000, and the parties agreed to mediate

the issue of costs, including attorneys’ fees.

         2.     On June 8, 2023, the parties mediated before Magistrate Judge Volpe the costs, in-

cluding attorneys’ fees, and agreed to settle that issue for $232,500.

         3.     As a precondition to the administrative termination of this case under Rule 41, the

parties agreed that all settlement amounts would be paid.

         4.     As of the filing of this joint status report, the settlement amounts have been received

by Mr. Humphrey and his attorneys.

         5.     Because the parties’ precondition for Rule 41 administrative termination has been sat-

isfied, the parties ask the Court to administratively terminate the case.



                                                   1
   Case 4:21-cv-00194-LPR Document 69 Filed 07/10/23 Page 2 of 2



WHEREFORE, the parties jointly ask the Court to administratively terminate this case.


                                      ROBINS KAPLAN LLP
                                      Robert Bennett, pro hac vice
                                      Andrew J. Noel, pro hac vice
                                      Marc E. Betinsky, pro hac vice
                                      Greta A. Wiessner, pro hac vice
                                      800 LaSalle Ave, Suite 2800
                                      Minneapolis, MN 55402
                                      (612) 349-8500
                                      rbennett@robinskaplan.com anoel@robin-
                                      skaplan.com mbetinsky@robinskaplan.com
                                      gwiessner@robinskaplan.com

                                      -and-

                                      ELDRIDGE BROOKS, PLLC
                                      Conner Eldridge, Ark. Bar No. 2003155
                                      Emily Neal, Ark. Bar No. 2003087 5100
                                      West J.B. Hunt Drive
                                      Suite 840
                                      Rogers, AR 72758
                                      (479) 553-7678
                                      conner@eldridgebrooks.com
                                      emily@eldridgebrooks.com
                                      Attorneys for Plaintiff

                                      -and-

                                      TIM GRIFFIN
                                      Attorney General of Arkansas

                                      Noah P. Watson, Ark. Bar No. 2020251
                                      Senior Assistant Attorney General
                                      Justin Brascher, Wash. Bar No. 58371
                                      Assistant Attorney General
                                      Arkansas Attorney General’s Office
                                      323 Center Street, Suite 200
                                      Little Rock, AR 72201
                                      Phone: (501) 682-1019
                                      noah.watson@arkansasag.gov
                                      justin.brascher@arkansasag.gov
                                      Attorneys for Defendant




                                        2
